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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    ROBERT F. KENNEDY HUMAN RIGHTS,
    et al.,

                 Plaintiffs,

          v.
                                                           Civil Action No. 25-1270-ACR
    U.S. DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity,

                 Defendants.


                                  NOTICE OF DECLARATION

         In response to the Court’s order immediately following the status conference held at 4 p.m.

this Thursday, May 22, 2025, Defendants respectfully submit the attached declaration of Nicole

C. Barksdale-Perry. 1 Defendants have worked diligently and as expeditiously as possible to

identify and coordinate with the Department of Homeland Security personnel most knowledgeable

and best situated to testify to the matters identified by the Court during the status conference. But

Defendants note for the Court’s awareness that potential declarants’ respective areas of subject-

matter expertise and factual knowledge, schedules, and availability under an expedited submission

timetable factored into the determination of which DHS personnel were best situated, accounting

for all circumstances, to provide testimony on the directed topics.




1
  Ms. Barksdale-Perry’s declaration addresses a portion of the topics directed by the Court.
Defendants continue working to finalize and submit a declaration addressing the remainder of the
directed topics, but submit this declaration separately in the interest of time.
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Dated: May 22, 2025                     YAAKOV M. ROTH
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                                        /s/    Christopher R. Hall
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